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 Attorney or Trustee Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Numbers, State Bar No. & Email Address

 SANDRA K. MCBETH
 State Bar No. 138697                                                                                    FILED & ENTERED
 2236 S. Broadway, Suite J
 Santa Maria, CA 93454
 (805) 922-0313                                                                                                  SEP 05 2017
 (805) 922-7915(fax)
 smcbeth@mcbethlegal.com
                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY RUST       DEPUTY CLERK




      Attorney for chapter 7 trustee
      Chapter 7 trustee

                                           UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA -NORTHERN DIVISION

 In re:                                                                        CASE NO.: 9:11-BK-11328-PC
                                                                               CHAPTER: 7
 KENNETH HARPER

                                                                                   ORDER ON FINAL FEE APPLICATIONS
                                                                                           ALLOWING PAYMENT OF:
                                                                                 (1) COURT AND U.S. TRUSTEE FEES; AND
                                                                                     (2) FINAL FEES AND EXPENSES OF
                                                                                      TRUSTEE AND PROFESSIONALS
                                                                                              [LBR 2016-1(c)(4)]
                                                                               DATE: September 5, 2017
                                                                               TIME: 10:00 AM
                                                                               COURTROOM: 201
                                                                               ADDRESS: 1415 State Street, Santa Barbara CA

                                                              Debtor(s).


The chapter 7 trustee filed a Trustee’s Final Report in this case. Applications for final compensation were filed by the
chapter 7 trustee and, if applicable, other professionals. Based on findings and conclusions made by the court, IT IS
ORDERED: Fees and expenses are approved as follows, and if not already paid may be paid:

1.   Fees: U.S. Bankruptcy Court and U.S. Trustee
     U.S. Bankruptcy Court fees (specify)
     Complaints                                                           $350.00
     Notices                                                              $0
     Copies                                                               $0


     Subtotal of court fees:                                              $350.00
     U.S. Trustee fees                                                    $0
     Total allowed court and U.S. Trustee fees                            $350.00
          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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2.   Professional Fees and Expenses:
     a. Chapter 7 Professional Fees and Expenses:

                                Total Final Request               Total Allowed                Paid-to-Date             Remaining to be Paid
           (1) Name of Professional/Profession: Beall & Burkhardt, APC, Attorney for Trustee
                Fees            $46,412.50                   $46,412.50                    $0.00                       $46,412.50
                Expenses        $788.77                      $788.77                       $0.00                       $788.77
           (2) Name of Professional/Profession: M. Kathleen Klein, CPA for Trustee
                Fees            $1,215.00                    $1,215.00                     $0.00                       $1,215.00
                Expenses        $58.08                       $58.08                        $0.00                       $58.08

       Additional professional fees and expenses attached.

     b. Chapter 11 Professional Fees and Expenses (prior to conversion to chapter 7): NONE

                                Total Final Request               Total Allowed                Paid-to-Date             Remaining to be Paid
          (1) Name of Professional/Profession:
                Fees
                Expenses

       Additional professional fees and expenses attached.

3.   Trustee Fees and Expenses:
     a. Chapter 7 Trustee Fees and Expenses:

                                Total Final Request               Total Allowed                Paid-to-Date             Remaining to be Paid
          Trustee (name):
             Fees               $8,736.70                    $8,736.70                     $0.00                       $8,736.70
             Expenses           $468.33                      $468.33                       $0.00                       $468.33
             Bank Fees          $1,557.18                    $1,557.18                     $1,557.18                   $0.00
             Bond               $50.06                       $50.06                        $50.06                      $0.00
             Taxes              $0.00                        $0.00                         $0.00                       $0.00

       Additional trustee fees and expenses attached.




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     b. Chapter 11 Trustee Fees and Expenses (prior to conversion to chapter 7): NONE

                                Total Final Request               Total Allowed                Paid-to-Date             Remaining to be Paid
          Trustee (name):
             Fees               $                            $                             $                           $
             Expenses           $                            $                             $                           $
             Bank Fees          $                            $                             $                           $
             Bond               $                            $                             $                           $
             Taxes              $                            $                             $                           $

        Additional trustee fees and expenses attached.


4. If the final dividend to creditors is the same or higher than proposed in the Trustee’s Final Report, the trustee shall
   immediately proceed with the final distribution to creditors and professionals. If the final dividend to creditors is less
   than that which was proposed in the Trustee’s Final Report, the trustee shall immediately submit to the U.S. Trustee
   an Amended Trustee’s Report of Proposed Distribution and Dividend Payments within 30 days of the entry of this
   order. Within 14 days the U.S. Trustee will review the proposed distribution and notify the trustee to proceed with the
   final distribution to creditors and professionals. The distribution to creditors and professionals shall occur at the same
   time and no later than 90 days from the entry of this order.

5.      Other:


                                                                         ###




                 Date: September 5, 2017




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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